Case 1:21-cr-10104-PBS Document 250-6 Filed 08/02/23 Page 1 of 1
19.12.2021

To Whom it may concern:

Reference for Mr Vladislav Klyushin

| have been working with Vladislav for almost 9 years. When | came to M13 | had no idea what
would happen next, what | wanted to do with my life. It was one of my first jobs after graduating
from university, | started working there only because | needed money for living. | was trying to
find a new place, was going to job interviews. But there is nothing more permanent than the
temporary. Quite soon | realized that | actually didn’t need to look for another job. Because my
colleagues were great, my work was interesting challenging, and because of Vladislav’s
leadership. He is such a generous, kind, extremely intelligent and helpful person that you want
to be like him.

The most revealing and defining story about Vladislav for me happened during my second year
in the company. We had a big new startup project that took all of our time. It was quite
challenging, not everyone could manage. One night | was awoken by a phone call from one of
my colleagues who's fallen sick: he had an asthma attack and was periodically losing
consciousness, he couldn't say his address or call anyone else. So the first thing | did was to call
Vladislav for help. And he came through. He calmed me down, called the ER and organized the
best medical care for my colleague. After that | fully understood that he wasn't someone who
gave fake speeches about the importance of becoming a “work family”, he really did care. And if
something bad happened and | needed help, now | knew who to call.

| also know Vladislav as a great father and husband. He always talks about his family with love
and tenderness. | know that he attended the birth and helped to deliver his first daughter himself.
Only imagine! He read all the books about parenting, so when | have my own kids | will ask him
for an advice on how to be a good parent.

| think that family is very important for him. We have a company tradition, which was Vladislav’s
idea, to buy New Year gifts for all employees’ children and to celebrate and hold office parties
together with families. For a business owner it might appear to be not the best decision because
of additional expense, but Vladislav’ goal is not money.

| think through all these years in the company | have grown as a person, as a manager, as a
leader. And Vladislav was one of those people who believed in me, gave me a chance to prove
myself and find my true self. And I’m not the only one. Vladislav knows all of his employees’
birthdays, when they become parents or have weddings. He always asks what we can change
in the company to make it a better place for all of us. Cannot imagine a better person to learn
from.

Alex Doronina

Manager M13 foF 2 eran 4/

